Order Form cov206r ASE: 1:07-cv-00036 Document #: 135 Filed: 01/27/11 Page 1 of 15 PagelD #:1445
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United States District Court, Northern District of Illinois ke / HAS
Name of Assigned Judge Ruben Castillo Sitting Judge if Other
or Magistrate Judge than Assigned Judge
CASE NUMBER 07 C 36 DATE 1/27/2011
CASE Pamela A. Jones, et al. Vs, Walgreen Co.
TITLE
DOCKET ENTRY TEXT

 

Fairness hearing held on 1/27/2011. Plaintiffs’ motion to supplement [133] is granted. The Court finds the
settlement is fair and reasonable and hereby approves the class action settlement. The Court also finds the
attomeys’ fees and costs, and the damage awards to the Named Plaintiffs are fair and reasonable, Enter
Revised Proposed Final Order Approving Class Settlement and Certification of Class For Settlement
Purposes. This case is hereby dismissed with prejudice. The Court retains jurisdiction to enforce the terms of
the Settlement Agreement.

 

 

Wi [ For further detail see separate order(s).] Docketing to mail notices.

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07C36 Pamela A. Jones, et al. Vs. Walgreen Co. Page 1 of 1

   
 

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

PAMELA A, JONES, ANDREA MAYS, )
NICOLE LEWIS and LILLIAN } Case No.: 1:07—-cv—000386

WELDON, on behalf of themselves and }
others similarly situated, )
) HONORABLE RUBEN CASTILLO
Plaintiffs, )
)
Vv )
) EXHIBIT
WALGREEN CoO., ) } XR.
)
Defendant. )

REVISED PROPOSED FINAL ORDER APPROVING CLASS SETTLEMENT
AND CERTIFICATION OF CLASS FOR SETTLEMENT PURPOSES

 

WHEREAS, the parties have jointly requested this Court to enter an order
approving the settlement of this case in accordance with a Settlement Agreement,
fully executed on August 27, 2010, (the “Settlement Agreement” or “Settlement”),
which, together with the Exhibits annexed thereto, sets forth the terms and
conditions for a settlement of this case on a class-wide basis and for dismissal of the
case with prejudice upon the terms and conditions set forth therein;

WHEREAS, the Court has read and considered the Settlement Agreement,
the Exhibits annexed thereto, Parties’ Joint Motion for Preliminary Approval of the
Settlement and all accompanying papers, and the Parties’ Joint Motion for Final
Approval of the Settlement and all accompanying papers.

WHEREAS, the Court having conducted a hearing in open court on January

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27, 2011, which oO members of the class attended: he C.

NOW THEREFORE, THE COURT FINDS AND ORDERS AS FOLLOWS:

1, For purposes of the Settlement, the Court has subject matter and
personal jurisdiction over the parties and this dispute.

2. On September 2, 2010, this Court entered an order granting the
Parties’ Joint Motion for Preliminary Approval of the Class Action Settlement;
Conditional Certification of a Settlement Class, Designation of Class
Representatives and Appointment of Class Counsel; Approval of the Form and
Manner of Class Settlement Notice; and Scheduling a Final Fairness Hearing, Dkt.
117, and Administrative Order No. 1, Dkt. 118.

3. The Settlement Agreement entered into by the parties was attached as
Exhibit A to their Joint Motion for Preliminary Approval. That Settlement
Agreement is now before the Court for final approval.

4, This Order incorporates by reference the definitions in the Settiement
Agreement submitted by the Parties, and all terms shall have the same meaning as
set forth in the Settlement Agreement.

5. Administrative Order No. 1 conditionally certified a settlement class
consisting of the following: “All women who were employed by Walgreens as an
MGT, EXA, or MGR at any time between September 11, 2004 and March 31, 2009.”

6. Administrative Order No. 1 approved the form of class notice attached

to the Settlement Agreement as Exhibit A, and the plan for its dissemination

specified in the Settlement Agreement. The Court has carefully reviewed the

 
 

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declaration of the Settlement Administrator regarding class notice. Upon this
review, the Court finds that the notice requirements set out and incorporated by
Administrative Order No. 1 have been fully and adequately met and that such
notice satisfies the requirements of Rule 23 and Due Process and was the best
notice practicable under the circumstances.

7. The Settlement Agreement, as approved by Administrative Order No.
1, provided an opportunity for class members to opt out of the settlement. Of the
21,575, only 214 class members have filed timely, valid requests for exclusion. A
list of the persons who submitted timely, valid requests for exclusion is attached as
Exhibit A to this Order. Those requests are granted, and those individuals shall not
be bound by the terms of the Settlement Agreement.

8. The Settlement Agreement, as approved by Administrative Order No.
1, provided an opportunity for class members to object to the Settlement Agreement
and specified procedures and a due date (December 2, 2010) for such objections.
The Court has received five letters, all of which it will treat for the limited purpose
of considering whether the settlement is fair, reasonable, and adequate as
objections to the Settlement Agreement. A list of the persons who submitted
objections is attached as Exhibit B to this Order.

9. The Court has carefully considered the letters. Upon all the
information and evidence, the Court finds that some of the “objections” do not in
fact object to the settlement as agreed to by the parties and that none of the

objections is well taken or persuades the Court that the Settlement Agreement is

 
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other than a reasonable, fair, and adequate resolution of the claims of the class
members, for the reasons stated on pages 9-12 of Plaintiffs’ Memorandum in
Support of the Joint Motion for Final Approval.

10. The Administrative Order designated Matthew J. Piers, Joshua Karsh,
José Behar and John Brown as Class Counsel, and Pamela A. Jones, Andrea Mays,
Nicole Lewis, and Lillian Weldon as representatives for the Class (“Named
Plaintiffs”). The appointments with respect to the Named Plaintiffs and Class
Counsel are now confirmed and made final. The Named Plaintiffs and Class
Counsel have fairly and adequately represented and protected the interests of the
Settlement Class.

11. Pursuant to the Settlement Agreement, the Named Plaintiffs will
receive incentive awards totaling, collectively, $80,000. The Court approves, as fair
and reasonable, the incentive awards to Named Plaintiffs, which will be divided as
follows: $50,000 to plaintiff Pamela A. Jones, and $10,000 each to named plaintiffs
Andrea May, Nicole Lewis and Lillian Weldon.

12. Pursuant to the Settlement Agreement, defendant has agreed to pay
plaintiffs’ litigation costs and attorneys’ fees in the total amount of $1,800,000. The
Court approves, as fair and reasonable, Plaintiffs’ request for $1,800,000 in
attorneys’ fees and costs.

13. Upon all of the foregoing findings, and the entire record herein, the

Court finds the Settlement Agreement to be fair, reasonable, and adequate

pursuant to Rule 23(e) and in the best interests of the members of the Settlement

 
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Class, and is hereby approved.

14. All members of the Settlement Class are enjoined from commencing,
prosecuting, or maintaining any claim already asserted in, and encompassed by,
this Action, or challenging or seeking review of or relief from any order, judgment,
act decision or ruling of this Court in connection with the Settlement Agreement.

15. Judgment is entered dismissing the lawsuit with prejudice in
accordance with the terms of the Settlement Agreement. This Court retains

jurisdiction solely for the purposes specified in § IV.A of the Settlement Agreement.

ENTER:

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United States District Court

Dated: / be Mi

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Individuals who filed timely opt out notices
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ALEXANDER AMY E
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ANDERSON BRITTANY L
ANTOINE BRIANNE
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BACIC DENISE L
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BAKER ANDREA J
BALMAKHTAR KATRINA JAYNE
_{BARAN LISA F
BARNETT CARLOTTA R
BARNETT - LORNA K
BELKOLA HIEN
BERNARD CLAUDETTE A
BERTRAM LINDSEY A
BIDDLE (BEACH) _ |MARGARET A
BIERL CHRISTINE J
BLACK WELL JOAN C
BONK AMYBETH
BOOKER JACQUELINE Y
BOREL BROOKE E
BRILEY ALICIA R
BROGHAMMER LOREE A
BRUNE SHARI L
BURIA STEPHANIE J
BUSH DOROTHY E
BUTCHER KELLY M
BYRD ANGELA D
BYRD SHERRY W
CAIN TERESA M
CAMPBELL NICOLE M
CARDOSO GRACIELA M
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JONES v. WALGREEN COMPANY, 07-cv-00036

 

Individuals who filed timely opt out notices

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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COLEMAN MELANIE C
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CURL JOYCE
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DELMAIN DONNA L
DESANTO HEATHER M
DIAS JENNIFER R
DONNAURNMO LISA M
ELMORE CORA J
EMMONS KAREN M
ENRIQUEZ ROCZANE
FABRIZI LAURA C
FATEMI MAHDOKHT M
FEAHR KATHERINE M
FERTITTA JEENA H
FLETCHER CINDY L
FONT MICHELE G
FRANKS JILL L
FREDERICKS NICOLE M
FREELAND SARAH M
FREET NANCY E
FRICK KATHERINE L
FRYE JENNIFER F
FUSILIER AMY M
GAIDE LEAH MOEDE
GASTINEAU VICTORIA
GIESEL BEVERLEE E
GRAHAM EMILY J
GRAY NICOLE
GREGORY STEPHANIE
GRIFFITH SARAH A
GUMM BRANDIE
HALL MONICA M
HALM ELIZABETH D
HANSON KRISTEN D
HERRERA DEBRA A
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Individuals who filed timely opt out notices
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HILL KIMBERLY D

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HOPE KERIA

HOWE. CASSANDRA L

IMHOF SALLY A

IRWIN ELIZABETH SARAH

ISAACS MELINDA

JACKSON VINCENZINA CULLARO

JACOBY KATHLEEN §

JAMES KIMBERLY A

JENKINS ANDREA L

JOHNSON MARGARET A

KALTENBACH CHRISTINE L

KEAVENEY TERESA A

KING TINA MARIE

KLASINSKI KATHERINE M

KNESNIK. KATHY J

KURE ELIZABETH A

KUREK MARY F

LEA DIANE

LEJEUNE AMY MAYNOR

LEMERANDE WENDI M

LEMMER DAWN M

LILLY ALINA M

LIND ASHLEY A

LITTRELL JENNIFER A

LOPEZ PRISCILLA

MAHAR ELAINE M

MARSEE PATTY L

MATTES JULIE LYNNE

MAUE SUSAN M

MAY CAROLE A

MAY LISA F

MAYHALL JOAN MANUELA

MCBRIDE JENNIFER M

MCCULLOUGH JEANNE M

MCLEAN NANCY S

MILLER JENNIFER

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JONES v. WALGREEN COMPANY, 07-cv-00036

 

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MITCHELL CRYSTAL Y
MONDRAGON GINA L
MONTIJO BECKY JO
MORRIS JODI SUE
MOTTOLA ANN M
MURPHY SAMANTHA
MURRAY CHRISTINE C
MURRAY JOSEPHINE
NICHOLS GINA M
NICOLETTI KERRI A
O'CONNELL CHRISTINA M
OLDAKOWSKI SARA JEAN
ORDONEZ KATHRYN
OROZCO JENNIFER C
ORTIZ LOZOYA YESENIA
PADILLA GENA M
PAGAN MARITZA A
PAPPAS MONICA A
PARKS MARGARET J
PARR CANDACE A
PAUL MONICA M
PENA LORETTA
PETERSON CANDY D
PETERSON SHAUNA RENEE
PETRALIA LINDA A
POUNDERS VALERIE R
PROPES TIFFANY MICHELE
PRUNTY TERESA A
PUNZEL JULIE
PURSEL KEILEEN J
RALLI JENNIFER
RAMOLA JENNIFER A
RATTERREE AUTUMN D
RAYAR MARY
RAYMOND JAMIE H
REED SAMEERAH M
RHODES SONJA S
ROEBUCK DANIELLE R
ROLIN SANDY L
ROMERO LOUANNA L

 

 

 

 

 
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JONES v. WALGREEN COMPANY, 07-cv-00036

 

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ROSKEY KAREN J
ROSS MEGAN J
SACHS KIMBELY K
SANCHEZ, DIANA
SANDERS JACQUELINE R
SARTAIN-PAUL DEBORAH L
SAVONE ADRIENNE M
SCHNEIDER CYNTHIA J
SCHWEIZER ELIZABETH M
SELLNO SANDRA M
SERRATOS REBECCA L
SINCLAIR BEVERLY R
SKOY DANIELLE
SKYLES MARY
SLATTERY ILYN O
SMITH TIFFANY J
SOLEIMANPOUR SEPIDEH
SPARKS LEAH
SPRAGUE LISA M
STOUGH LISA M
STRANGE CYNTHIA L
STRITEHOFF THERESA A
SULLIVAN JENNIFER L
SULLIVAN MYKEL J
TENNYSON SMITH _|JENNIFER D
THOMAS MELISSA ANN
THOMPSON LANISA M
TILLMAN KEMEDONTAE K
TIMMONS EDNA PEREZ-
TORRES CHRISTY ANN
TRAN ANN
TRNINIC JELENA
VESSELS KAREN S$
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WALLACE SUSAN K
WARREN PHYLLIS R
WEBB CHRISCYNTHIA
WEDEL RONDA

 

 
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Individuals who filed timely opt out notices

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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WERNICKE GINGER L
WEST STACEY A
WHITE CRYSTAL M
WILKINSON TRACEY E
WILLIAMS MARY F
WILSON ANDREL
WINEBAUGH CHRISTINE M
WOLFORD KIMBERLY K
WRIGHT APRIL L
WYLDES ANN M
YOST MAGGIE L
YOUNG JENNIFER
ZIEHMER SARAH J

 

 

 
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EXHIBIT
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Jones v. Waigreen Co., 07-cv-00036
Individuals who submitted letters of objection

 

 

 

 

 

 

 

 

 

 

Lastname |Firstname [Date filed |Docket #

Joseph Benia 12/16/2010 119
Scott Amber 12/16/2010 120
Schwartz Katrina 12/16/2010 121
Stefanich Kelly Ann 12/16/2010 122
Zaima Alli Bebi 12/16/2010 123

 

 

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